Case

10
11
12
13
14
15
16
17
18
19
20
21
22

23

25
26
27

28

 

 

2:19-cv-05319-RGK-JC Document 2 Filed 06/20/19 Pagelof7 Page ID#2

LAW OFFICES OF TODD F. HAINES

TODD F. HAINES, ESQ. (SBN: 144429)
SHAN H. YAMAMOTO, ESQ. (SBN: 253262)
BRIAN P. TAPPER, ESQ. (SBN: 256580)
30495 CANWOOD STREET, SUITE 100
AGOURA HILLS, CA 91301

phone: (818) 597-2240

fax : (818) 597-2120

Attorneys for Plaintiff
SECURITY NATIONAL INSURANCE COMPANY

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA, WESTERN DISTRICT

SECURITY NATIONAL INSURANCE
COMPANY, a corporation,

CASE NO,

Plaintiff, COMPLAINT FOR SUBROGATION
AMOUNT DEMANDED DOES EXCEED
$10,000.00 (AMOUNT DEMANDED IS
$24,342.75)

Vv.

G.A. BRAUN, INC, a corporation;
and Does 1 through 10

Defendants.

 

Plaintiff alleges as follows:
GENERAL ALLEGATIONS

1. Plaintiff, SECURITY NATIONAL INSURANCE COMPANY, a
corporation ("PLAINTIFF") is, and at all times herein mentioned
was, a corporation organized and existing under and by virtue of
the laws of its State of incorporation and authorized to transact,
and is transacting a business in this State as a property and
casualty insurer duly authorized and licensed under the laws of

the State of California.

 

COMPLAINT 1]

 
Casé

10
11
12
13
14
15
16
17
18
19
20
21
22

23

 

 

2:19-cv-05319-RGK-JC Document 2 Filed 06/20/19 Page 2of7 Page ID#3

2. PLAINTIFF is informed, believes and thereon alleges that
Defendant, G.A. BRAUN, INC, a corporation, (“BRAUN”) is, and at
all times mentioned herein was, a corporation existing and doing
business under the laws of the State of California, and having its
principal place of business in the City of Syracuse, State of New
York.

3. As used herein, "CLAIMANT" refers to Ana Rivas.

4. As used herein, the “accident date" refers to April 2,
2018.

5. As used herein, “INSURED” refers to PLAINTIFF’s insured,
Yee Yuen Linen and Cleaners, Inc.

6. As used herein, the "accident location" refers to the
2575 Normandie Ave in the city of Los Angeles.

7, As used herein, the “PRODUCT” refers to a laundry
processing and folding machine, bearing the brand/manufacture’s
name of G.A. Braun, Inc., Model: the LPS2, Serial No.: ST12021162B

8. The true names and capacities whether individual,
corporate, associate or otherwise of defendants sued herein as
DOES 1 through 10, inclusive, are unknown to PLAINTIFF at the time
of filing this Complaint and, therefore, PLAINTIFF sues said
defendants by such fictitious names. PLAINTIFF will ask leave of
Court to amend this Complaint to allege their true names and
capacities when the same shall have been ascertained, together
with appropriate charging allegations, if necessary. PLAINTIFF
is informed, believes and thereon alleges that each of the

fictitiously named defendants is responsible, in some manner, for

 

COMPLAINT 2

 
Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

2:19-cv-05319-RGK-JC Document 2 Filed 06/20/19 Page 3o0f7 Page ID#:4

the events and happenings hereinafter set forth. Hereinafter
"DEFENDANTS" shall collectively refer to defendant BRAUN, and DOES
1 through 10.

9. At all times herein mentioned, each of the defendants
was an agent, employee or representative of each of the remaining
defendants, and at all times herein mentioned, acted within the

course and scope of said agency, employment or representation.

FIRST CAUSE OF ACTION
(Subrogation)

10. PLAINTIFF realleges and incorporates herein by reference
paragraphs 1 through 9, inclusive, with the same force and effect
as though said allegations were fully set forth herein.

ll. At said time and place, PLAINTIFF believes that
DEFENDANTS, each of them, were and are in the business of
designing, manufacturing, engineering, built assembling,
installing, inspecting, endorsing, drafting, testing, franchising,
supplying, selling, leasing, and distributing the PRODUCT and that
prior to the accident date, said DEFENDANTS did design,
manufacture, engineer, test, franchise, supply, sell, lease,
distribute, and place in the stream of commerce a certain PRODUCT
and each and every component thereof.

//
//
//

 

COMPLAINT 3

 
Case

10
li
12
13

14

16
“47
18
19
20
21
22
23

24

26
27

28

 

 

2:19-cv-05319-RGK-JC Document 2 Filed 06/20/19 Page 4of7 Page ID#5

12. At said time and place, PLAINTIFF believes that
DEFENDANTS’ PRODUCT and its component parts proximately and
legally caused the accident and injury damages thereof to
CLAIMANT.

13. At said time and place, PLAINTIFF believes that.
DEFENDANT owned, installed, supplied, leased, rented, maintained,
controlled, and/or operated the PRODUCT which was located at the
accident location where CLAIMANT was working.

14. DEFENDANTS had a duty to maintain and properly install
the PRODUCT in a manner that is reasonably safe. DEFENDANTS
breached their duty when they failed to warn, train, inspect,
maintain, install, and/or repair the component parts of the
PRODUCT thereby rendering the PRODUCT to be unsafe to those
working with the PRODUCT.

15. PLAINTIFF is informed and believes, and thereon alleges,
that at all times relevant hereto, the PRODUCT was composed of
multiple areas of moving parts, including rotating rollers,
revolving bands and other areas of moving machinery at the last
stage of the operation of the PRODUCT, which is the location were
the incident occurred and that these areas of moving parts,
including rotating rollers, revolving bands and other areas of
moving machinery, were exposed, unguarded and unprotected, thereby
allowing operators of the PRODUCT, including CLAIMANT, to reach
into the areas of moving parts, including the point of injury, for
the purpose of removing or readjusting pieces of laundry that had

become “jammed” and/or misfunctioned, such that CLAIMANT suffered

 

COMPLAINT 4

 
Cas@|2:19-cv-05319-RGK-JC Document 2 Filed 06/20/19 Page5of7 Page ID#:6

1 injury when her hand was caught and crushed into the rollers and
2 bands of the point of injury.

3 16. PLAINTIFF is informed and believes, and hereon alleges,
‘ that at all times relevant hereto, DEFENDANTS knew that the
_ PRODUCT was prone to cause pieces of laundry to “jam” and
misfunction which required that the operators of the PRODUCT,
3 including CLAIMANT, to reach into the PRODUCT, including at the
9 point of injury, in order to remove or readjust the pieces of
10 laundry that had become “jammed” or misfunctioned in order to

11 allow the continued operation of the PRODUCT.
12 17. Furthermore, DEFENDANTS failed to design, manufacture,
13 and install reasonable safety devices on the PRODUCT. Therefore,

14 DEFENDANTS’ PRODUCT was defective, dangerous, and unsafe for its

15 intended use and purpose and that said design and manufacturing
16 defect made it dangerous and likely to injure intended individuals
ot using DEFENDANTS’ PRODUCT, all of which created an unreasonable
46 risk of harm to CLAIMANT and others. CLAIMANT used the PRODUCT in
MS a reasonably foreseeable way however DEFENDANTS’ PRODUCT did not
°° perform as safely as an ordinary consumer would have expected the
. PRODUCT to perform. In addition, DEFENDANTS knew or should have
0 done the defects in the design and manufacture of the PRODUCT, and
M4 that this defect rendered the PRODUCT system unsafe for the
25 intended user such as CLAIMANT.

26|| //

27\| //

28||  //

 

COMPLAINT 5

 

 

 
Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

2:19-cv-05319-RGK-JC Document 2 Filed 06/20/19 Page 6of7 Page ID#:7

18. As a result of the negligence of DEFENDANTS, the
CLAIMANT sustained injuries to the body and limbs. On the accident
date, CLAIMANT while using the PRODUCT system for its intended
purpose, was severely injured. CLAIMANT was acting within the
course and scope of said agency and/or employment with INSURED.
INSURED had a workers compensation insurance policy with PLAINTIFF
on the accident date.

19. As a direct and proximate result of the negligence of
defendants, and each of them, CLAIMANT has presently sustained
bodily injury damages in the sum amount of $24,342.75. Pursuant
to the workers compensation policy that PLAINTIFF had with
INSURED, PLAINTIFF was obligated to make workers compensation
benefits payments to CLAIMANT.

//
//
//
//
//
//
//
//
//
//
//
//
//

 

COMPLAINT 6

 
Case

10

11

12

13

14

15

16

17

18

19

20

21

22

23

25

26

27

28

 

 

2:19-cv-05319-RGK-JC Document 2 Filed 06/20/19 Page 7of7 Page ID#8

WHEREFORE, PLAINTIFF prays judgment as follows:

1.

For the sum of $24,342.75 presently with the total
fixed demand amount to be determined at the time of
trial, together with interest thereon at the maximum
legal rate permitted by law from April 15, 2019;

For costs of suit herein; and

For such other and further relief as the Court deems

just and proper.

Dated: June 13, 2019 LAW OFFICES OF TODD F. HAINES

BT/501-117

ft he

BRIAN P. TAPPER, ESQ.
Attorneys for Plaintiff
SECURITY NATIONAL INSURANCE
COMPANY

 

COMPLAINT

 
